Case 2:18-CV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 1 of 15 Page |D #:29

EXHIBIT 1

Case 2:18-0\/- -06449- RSW|_- KS Document 7 Filed 07/26/18 Pag e 2 of 15 Pag e |D #: 30

|||||||||||||||||||||||||||L||l|O|lO||||5|||L||5|||||2||||||||||||||||||||||||||

(12) United States Patent

(10) Patent No.: US 9,851,054 BZ

 

 

Vincent (45) Date of Patent: Dec. 26, 2017
(54) UNIVERSAL LAMP SUPPORT FZlS 8/00; FZIK 9/10; F21K 9/17', F21K
9/90; F21K 9/23; F21K 9/235;F21K
(71) Applicant: John Bryan Vincent, San Angelo, TX 9/238; F21K 9/27; F21K 9/272‘, F21K
(US) 9/275-, F21K 9/278~, F21Y 2103/003;
F21Y 2101/02'Y10T 29/49]69
(72) Inventor: John Bryan Vincent, San Angelo, TX USPC 362/217 01_217_17 518_225 249 02`
(US) 29/854
(73) Assignee: Principal LED’ LLC, San Angelo, TX See application file for complete search history.
(US) (56) References Cited
( * ) Notice: Subject to any disclaimer, the term of this U_S_ pATENT DOCUMENTS
patent is extended or adjusted under 35
U.S.C. 154(b) by 0 days. 6,036,336 A * 3/2000 Wu 362/249.03
7,926,977 BZ* 4/2011 Nall et al. . 362/249.02
. 8,083,373 B2 12/2011 Zimmerma.n
(21) Appl. No.. 14/582,944 8’474’998 Bz 7/2013 Wang
. . * ...................... /
(22) Flled: Dec. 24, 2014 2007/0070631 41 3/2007 Huang FZJI;(z?Z§;
_ _ _ 2009/0086478 Al * 4/2(]()9 Szmroma et al. ............. 362/234
(65) Pr\or Pubhcatmn Data 2010/0019689 Ai* 1/2010 sh;m ......................... 0091= 9/33
315/294
US 2015/0184SO7A1 5111-2’2015 2010/0201239 Ai* 8/2010 Mosronereral. . ............... 313/1
Related U.S. Application Data (Cominued)
(60) Provisional application No. 61/920,791, filed on Dec, P"i"’a")’ E'\'a'"i"e" _ Jas°n MO°H Han
265 2013_ (74) Attor)zey, Agent, ar Firm _ Jackson Walker L.L.P.;
Randol Stout, Jr.
(51) Int. Cl.
F21V 21/00 (2006.01) (57) ABSTRACT
FZIK 99/00 (2016-01) An apparatus, manufacture and method of illumination
F 21K 9/90 (2016‘01) support being a single monolithic substrate with light emit-
F 21K 9/2 7 (2016-01) ting diodes motulted on the external sides of the monolithic
F-?l V 19/00 (2006-01) substrate. The necessary circuitry for the LEDS is embedded
F21Y 103/10 (2016-01) in one or more rigid or flexible electrical substrate that is
F-?l Y 115/10 (2016-01) aiiixed to one or more of the external sides of the monolithic
(52) U-S- Cl- substrate. The two terminal ends of the inonolithic substrate
CPC ------------------ FZlK 9/17 (2013-01); FZlK 9/27 are designed to fit into the lamp sockets ofan existing or new
(2016-08); F21K9/90 (2013-01); F21V19/008 light fixture without the use of end caps or end socket
(2013.01); F-71Y 2103/10 (2016~03)‘, F21 Y adapters, which provides structural support for the inono-
2115/10 (2016.08); Y10T 29/49169 (2015.01) linle Substrate_
(58) Field of Classification Search
CPC ........ FZIV 21/00; F21V 19/008; FZlS 4/003; 15 Claims, 3 Drawing Sheets
10 211 4 3 11 10

 

15

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lllll/l@
/'1/
15 \\6

2b

Case 2:18-CV-06449-RSWL-KS Document7 Filed 07/26/18

US 9,851,054 B2

Page 3 of 15 Page |D #:31

 

Page 2
(56) References Cited
U.S. PATENT DOCUMENTS
201W0124874 Al* 5/2012 Breihof ........................... 40/564
2014/0334142 Al "‘ 11/2014 Levante et al. ............... 362/222

* cited by examiner

Case 2:18-CV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 4 of 15 Page |D #:32

U.S. Patent Dec. 26, 2017 sheet 1 Ofs US 9,851,054 Bz

2:1 1 g 2b

ed /' _£

 

 

 

 

 

FIGURE 1

\_//\\
U'\\../

5 4 6

3

\
m Ir~\ r_\
IIIIIQI f==-=- =-=-1=

F.lGURE 2 ; / FIGURE 3 < ;
7 5 8 7

<\`

 

 

 

 

 

2a 4 15 2b

6

__|M-----m1\

h F'T
E§A§nn@
/ l

/ l

7
):)W…

7 1 5 15 6 3

 

 

 

 

 

 

 

 

 

Case 2:18-CV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 5 of 15 Page |D #:33

U.S. Patent Dec. 26, 2017 Sheer 2 0f3 US 9,851,054 Bz

 

1_0

 
  

       

 

:[lllll,l@i
71/ l l

 

 

 

5 6 2b

LEGEND
FIGURE 5 ONLY DEPICTS PRIOR ART

Case 2:18-CV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 6 of 15 Page |D #:34

U.S. Patent Dec. 26, 2017 sheer 3 013 US 9,851,054 B2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 7 of 15 Page |D #:35

US 9,851,054 B2

1
UNIVERSAL LAMP SUPPORT

CROSS-REFERENCE 'I'O RELATED
APPLICATIONS

This application claims priority from a provisional appli-
cation Ser. No. 61/920,79], filed on Dec. 26, 2013; hereby
incorporated by reference in its entirety.

STATEMENT REGARDING FEDERALLY
SPONSORED RESEARCH DEVELOPMENT

Not Applicable

THE NAMES OF THE PAR'HES TO A JOINT
RESEARCH AGREEMENT

Not Applicable

INCORPORATION-BY-REFERENCE OF
MATERLAL SUBM]TTED ON A CD OR AS A
TEXT FILE VIA THE OFFICE ELECTRON"IC

FILING SYSTEM (EFS-WEB)

Not Applicable

STATEMENT REGARDING PRIOR
DISCLOSURES BY THE INVENTOR OR JOINT
INVENTOR

Not Applicable
BACKGROUND OF THE INVENTION

Many lighting applications use fragile fluorescent lamps
or another type of lamp that may be replaced with Light
Emitting Diodes (“LED”) to increase energy efiiciency and
increase the service life of the lamp. Replacement ol` his-
torical lamp types with LEDS is not a novel practice and has
been occurring for the past decade or more. The novelty in
this field of art is the invention of a structural support that
facilitates the use of LEDs l`or illumination in existing light
fixtures This has been accomplished for several lighting
applications U.S. Pat. No. 6,036,336 claims an invention
that facilitates the use of LEDs in the retrofitting of existing
illuminated traffic signals Other companies have invented a
structure that facilitates the replacement of incandescent
bulbs with LEDs while using the same unmodified light
fixture. The invention is directed to a monolithic structural
support for the replacement of fiuorescent lamps, gas dis-
charge lamps, and other lamp types that are supported at the
two terminal ends of the lamp. ”fhis type of lighting is widely
used in signs, including backlit signs and cabinet signs, and
other applications Where illumination is necessary.

The current invention eliminates the need for modification
of the existing light fixture, the need for end caps to connect
to the existing lamp sockets, and functions properly regard-
less of the orientation of the lamp sockets. The invention
does this by an extruded monolithic substrate that has two
terminal ends that are designed to fit directly into the
existing lamp sockets without an end cap on the monolithic
substrate or modification to the light fixture. The LEDs
affixed to the exterior faces of the monolithic substrate
provide illumination. The utility of the improvement over
the prior art is that the invention will be easier and faster, to
install when replacing existing lamps With new LED lampsl
This is because many of the lighting applications to be

10

15

30

35

40

50

55

60

2

retrofitted are elevated from the ground surface which makes
it more difficult to hoist a cumbersome replacement structure
that comes in multiple pieces Additionally, if thc lamp
sockets are not oriented properly then the invention can be
installed without regard to the orientation of the lamp socket
and still provide maximum illumination on the sign face
distinguishing the invention from the prior art. With the
current invention the light weight and monolithic construc-
tion of the invention makes installation of the invention into
the existing light fixture quicker and more echient than
previous inventions addressing this problem.

Field of the lnvention

The disclosure relates to the support structure for a
plurality of light emitting diodes to facilitate the replacement
of existing fiuorescent lamp types with light emitting diodes.

Description of the Related Art Including
Inforrnation Disclosed Under 37 CFR 1.97 and
l.98

In U.S. Pat. No. 8,474,998 (998 Wang) the invention
disclosed is a structural mounting system that facilitates the
use of LEDs in the replacement of historical lamp types and
specifically fluorescent lamps This invention has an inner
frame that makes a connection with the LED modules and
two holding bases that are connected to the opposite ends of
the inner frame of the light fixture or lighting cabinet. These
holding bases are mechanically attached to the existing
raceway structure of the existing light fixture. With these
holding bases installed on the existing raceway the inner
frame can be installed and the LED modules can serve as
replacements for the previous fiuorescent lamps. The draw-
back of this design is the need for installation of the holding
bases in the existing light fixture which requires modifica-
tion of the existing light fixture to accommodate the LED
replacement

In Published US Patent Application US 2012/0124874 Al
(BreilloD the invention disclosed is another structural
mounting system that facilitates the replacement of previous
lamp types with LEDs, specifically the replacement of
fluorescent lamps llle invention disclosed includes an
l-beam as the inner structural component which also has two
opposite ends with specially designed end caps that are
connected to each of the opposite ends of the I-beam. These

. end caps are designed so that the outward face of the end

caps will fit into the existing lamp sockets of the fixture The
end caps in this application are designed to fit inside the
existing lamp, sockets with a protruding rectangular piece
that fits into the recessed lamp Socket. The replacement
LEDs or other lamp types are connected to the web of the
I-Beam. If the lamp sockets are not all installed with the
same orientation then invention may not direct the illumi-
nation in the proper direction to provide maximum ilhuni-
nation on the sign face. ”l`his would require the removal and
reinstallation of the lamp sockets. 'I`his invention eliminates
the need for modifications to the light fixture by using the
existing lamp sockets as mechanical supports for the new
LED lamps, but may not function properly unless all of the
lamp sockets are properly oriented The current invention
also eliminates the need for an end cap or end socket
adapters to install the invention into the existing lamp
sockets

BR_IEF SUMMARY OF THE INVENTION

The invention is an extruded monolithic substrate that has
terminal ends designed to fit within and connect with new or

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 8 of 15 Page |D #:36

US 9,85l,054 B2

3

existing double recessed light sockets The present invention
is distinguished from the prior art because the monolithic
substrate of the invention uses no end caps or end sockets to
make the connection with the existing lamp socket. The
entire rrronolitlric substrate is a singular unitary piece of
extruded material Light Enritting Diodes (“LED”) are
afhxed to the external faces of the monolithic substrate. Tlre
LEDs may be individually allixed to the external face of the
monolithic substrate or the LEDs may be mounted on an
electrical substrate that has an of the needed circuitry
embedded within the electrical substrate and this electrical
substrate may be afhxed to the external face of the mono-
lithic substrate. Tlre monolithic substrate is designed and
manufactured so that it fits into existing lamp sockets that
are designed to accommodate fluorescent lamps or double
recessed socket type. 'Ihe purpose of the invention is to
allow the replacement of previous fluorescent lamp types
with LEDs to provide illumination at a reduced cost and
extended service life.

'['he invention is manufactured starting with an extruded
monolithic substrate that can be cut to any length desired,
and bent or molded into a specific shape to fit a particular
application. After the monolithic substrate is shaped then
singular or plurality of LEDs are affixed to the external faces
of the monolithic substrate. 1he LEDs can be arranged on an
electrical substrate that has all of the needed circuitry
embedded within the electrical substrate. 'I`lris electrical
substrate with LEDs is then afiixed to the external faces of
the monolithic substrate. The electrical substrate has elec-
trical contact points that are connected to a power source to
illuminate the LEDs After afhxing the electrical substrate
with LEDs to the monolithic substrate a transparent weather
protective sleeve may be installed over the monolithic
substrate and LEDs to provide a weather proofing barrier.
Tlris transparent weather proofing sleeve may be made out
of a heat shrinking material After the transparent sleeve is
attached a sealant is applied to the each of the terminal ends
of the transparent sleeve to inhibit the movement of moisture
within the transparent sleeve.

Many illuminated signs use fiuorescent bulbs or a double
contact gas discharge lamp to illuminate the interior of a
light cabinet and thus illuminate the sign. lt is desirable to
replace the fluorescent or other lamp type in service with an
LED. Other inventions in this field replace fluorescent lamps
with LEDs using a support structure that uses end caps or
end socket adapters to connect the support structure with the
existing lamp socket. Lamp replacement with LEDs will
provide a longer service life and reduced operating costs:
Since lighted cabinet signs are ubiquitous it is desired to
replace the lamp type but to use the existing light fixture and
avoid the cost of replacing the light fixture. The invention
provides for a method of retrofitting existing lighted signs
that use liuorescent lamps with recessed T-12 sockets The
steps in the method are: the monolithic substrate is sized and
shaped to the desired dirnensions, assembled With LEDs and
needed circuitry to the external faces of the monolithic
substrate, and installed into and connected to the existing
lamp sockets The LEDs are independently connected to the
power source and the connection between the power source
and the existing lamp sockets is disconnected Once the
wiring is complete the invention will provide replacement
illumination.

BRIEF DESCRIPTION OF THE SEVERAL
VIEWS OF THE DKAWING(S)

FIG. 1 is a perspective view of the elongate support
element;

5

w
O

40

4

th

55

65

4

FIG. 2 is a top view of the LED String (Only Prior Art
Depicted);

FIG. 3 is a side view of the LED String (Only PriorArt
Depicted);

FIG. 4 is a perspective of the elongate support member
with LED String attached on two exterior faces of the
support elernent;

FIG. 5 is perspective view of a T-12 lamp socket (Only
Prior Art Depicted);

FIG. 6 depicts how the invention is installed between two
opposing lamp sockets;

FlGr 7 depicts a light cabinet with the invention installed
in the opposing lamp sockets

DETAILED DESCRIPTION OF THE
INVENTION

Embodiments of the invention are directed to a extruded
monolithic substrate for support of LEDs 1 (FlG. 1) to
facilitate the replacement of fiorescent lamps 14 (FIG. 7), or
other type of double contact lamps, with light emitting
diodes (LED) to illuminate a light cabinet or other lighting
applications The extruded nronolitlric substrate is an elon-
gate forrn that may have a hollow or solid cross section core.
The preferred embodiment of the invention has a monolithic
substrate with a square cross section with a hollow core. The
monolithic substrate nray be made of any material and in any
cross sectional shape as may be exu'uded. The ends of the
monolithic substrate may be machined to fit into the shape
of the existing lamp sockets if the shape of the cross section
of the monolithic substrate does not match the existing lamp
socket. 1`lre monolithic substrate of the invention is a unitary
piece and functions without the use of end caps or end socket
adapters needed to connect the monolithic substrate with the
existing lamp socket.

Installation of the invention is easy and requires no
additional support brackets or end cap adapters because the
terminal ends 2a, 2b (FIG. 1) of the monolithic substrate 1
(FIG. 1) are designed to fit directly into the existing light
fixture 12 (FIG. 7) lamp sockets 9 (FIG. 7) and use these as
the structural supports When the invention is installed in
two opposing lamp sockets then it is secured in its service
position 12 (FIG. 7). Tlre existing lamp sockets are used as
structural supports but are eliminated as live circuits and
instead the light emitting diodes are wired directly to the
power source. 'l'he monolithic substrate can accommodate
various types of light emitting diodes 6 (FlGS. 2 and 3). The
nronolithic substrate may be straight, berrt, or curved to
accommodate different light cabinet shapes as needed.

'l'he configurations of LEDs that work with the monolithic
substrate include but are not limited to the following
examples The LED can be mounted onto a fiexible or rigid
substrate defined as the electrical substrate 5 (FIGS. 2 and 3)
and the electrical substrate may contain all the needed
circuitry to deliver the appropriate power to the LED, as well
as any other electronic components required to control the
LED. When mounted on to an electrical substrate with all the
needed circuitry contained within the electrical substrate; the
electrical substrate, inner circuitry, and LEDs are referred to,
and defined as, a “LED String” 4 (FIGS. 2 and 4). A String
may contain one or nrore LEDs The LEDs can also be
mounted onto multiple electrical substrates. F[he multiple
electrical substrates can contain the circuitry required for
powering the LED or controlling the LED, facilitate the
connection between the LED String and the nronolithic
substrate, and provide a weather and moisture barrier to
protect the LED and circuitry. Tlre electrical substrate may

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 9 of 15 Page |D #:37

Us 9,851,054 132

5

also be mounted on an adhesive substrate 8 (FIG. 3) that
facilitates the connection of the LED String to the mono-
lithic substrate. The LED String may also be encased in a
transparent substrate to provide a weather and moisture
barrier to extend the service life of the LED. The LED String
may also be mounted onto a housing piece that facilitates the
connection between the LED String and the monolithic
substrate. The LED String may also have notches or holes in
the Sting that facilitates the connection to the monolithic
substrate.

'Ihe monolithic substrate is comprised of two terminal
ends Za, 2b (FIGS. 1, 4, and 6) and an elongate solid or
hollow body portion 1 (FIG. 1, 4, 6) between the two
terminal ends The elongate body portion has multiple
exterior sides 15 (FIGS. 1, 4 and 6) upon which a LED
String 4 (FIG. 2) can be affixed or connected An external
side of the support element can be either a flat external side
of the monolithic substrate or be the external side of the
elongate body of the monolithic substrate in the case of a
monolithic substrate with a circular cross section.

The invention is made by determining the appropriate
dimensions of the needed elongate body length of the
invention and size of the tenrrinal ends of the monolithic
substrate so that they may fit, without modificatiorr, directly
into the existing light fixture 12 (FIG. 7) lamp sockets 9
(FIGS. 5 and 7). Once the light fixture lamp socket dimen-
sions have been determined then the terminal ends of the
monolithic substrate can be designed to fit into the light
fixture lamp socket. The light fixture lamp socket dimen-
sions may determine the height and depth of the terminal
ends of the monolithic substrate but the elongate body of the
nronolithic substrate may be of larger or smaller dimensions
as is structurally required Once the nronolithic substrate is
sized then one or more LED Strings 4 (FIGS. 2 and 4) are
affixed to the external sides 15 (FIGS. 1, 4 and 6) of the
monolithic substrate. After afoing or connecting the LED
String or Strings to the external side or sides, of the
monolithic substrate elongate body then a transparent plastic
sleeve may be installed over the entire length of the mono-
lithic substrate and LED Strings to provide a standalone or
additional weather and moisture barrier. This transparent
sleeve moisture barrier may be made of a heat shrinkable
material. Furthermore, silicone, hot melt copolymer, epoxy,
or other sealant may be injected inside the ends of the
transparent sleeve to provide additional moisture resistance

The preferred embodiment of the invention is an elongate
monolithic extrusion 1 (FIGS. 1, 4, 6 and 7) that is designed
with terminal end 2a, 2b (FIGS. 1, 4 and 6) dimensions that
fit securely into widely used existing T-12 sockets 9 (FIGS.
5, 6 and 7) of a light cabinet 12 (FIG. 7). The monolithic
substrate has an elongate body with a square cross section
and a hollow core 3 (FIGS. 1, 3 and 6). The elongate body
of the monolithic substrate has the same cross section
dimensions as those of the terminal ends, being a square
cross section. "fhe T-12 lamp sockets have a recessed rect-
angular hole 10 (FIGS. 5 and 6) that has a protruding contact
piece 11 (FIGS. 5 and 6) within the recessed hole of the lamp
socket 9 (PIGS. 5, 6 and 7). The monolithic substrate 1 (FIG.
6) is installed by pushing the tenninal end 2a, 2b (FIG. 6)
into the recessed opening 10 (FIG. 6) of the lamp socket 9
(FIG. 6) and the protruding contact 11 (FIGS. 5 and 6) fits
smugeg within the hollow temrinal end opening 3 (FIG. 6)
of the monolithic substrate.

The length of the invention is determined by the length of
the fiorescent lamps 14 (FIG. 7) that are being replaced
Once the monolithic substrate has been extruded and cut to
size for length then a LED String or LED Strings, are afhxed

10

20

40

45

50

60

6

to the extemal side or sides 15 (FIGS. 1, 4 and 6) of the
monolithic substrate as needed. The LED String 4 (FIG. 2)
contains one or more LEDs 6 (FIGS. 2 and 3) mounted on
a flexible electrical substrate 5 (FIGS. 2 and 3) that contains
and encloses all the needed circuitry within the fiexible
electrical substrate, the flexible electrical substrate has the
LED on one external face of the flexible electrical substrate
and an adhesive tape 8 (FIG. 3) on the opposite external face
of the flexible electrical substrate, 1his adhesive tape facili-
tates the connection between the LED String and the mono-
lithic substrate. After connecting the LED String to the
monolithic substrate as needed a transparent heat shrinking
sleeve is pulled over the elongate body of the nronolithic
substrate covering the entire body of the monolithic sub-

' strate and LED String. A commercial sealant is then added

to one or both ends of the transparent sleeve between the
sleeve and the monolithic substrate providing a moisture
resistant barrier between the transparent sleeve and the
monolithic substrate, particular care should be taken in
applying the sealant when wiring 7 (FIGS. 2, 3 and 4) from
LED String to the power source exit from within the
transparent sleeve. If the LED String 4 (FlGS. 2 and 4)
external wiring 7 (FIGS. 2, 3 and 4) to the power source does
not enter through the end of the transparent sleeve but rather
enters the transparent sleeve between the two ends of the
transparent sleeve then sealant should be applied where the
external wiring enters the transparent sleeve. After the
sealant has been applied between the transparent sleeve and
the monolithic substrate then heat is applied to the trans-
parent sleeve so that the sleeve provides a tight fit around the
LED String and the monolithic substrate.

The invention claimed is:

1. An apparatus, comprising:

a lamp support comprising an elongated extrusion includ-

ing four sides enclosing a hollow core extending from
a first end of the elongated extrusion to a second end of
the elongated extrusion, wherein each end of the elon-
gated extrusion is configured to fit securely within a
recess of a recessed double contact socket, wherein a
protruding contact structure, which protrudes from the
recess, is received within the hollow core of the elon-
gated extrusion', and

one or more light emitting diode (LED) strings, aflixed to

one or more of the four sides of the elongated extrusion,
wherein each LED string includes:

one or more LEDs; and

wiring suitable for comrecting the one or more LEDs to a

power source not connected to the protruding contact,
thereby enabling powering of the LED string indepen-
dently of the protruding contact.

2. Tlre apparatus of claim 1, wherein a cross-section of the
elongated extrusion is rectangular

3. 'l`he apparatus of claim 2, wherein the cross-section of
the elongated extrusion is square.

4. The apparatus of claim 1, wherein the elongated
extrusion comprises a rigid plastic elongated extrusion.

5. 111e apparatus of claim 1, wherein the elongated
extrusion comprises a metal elongated extrusion.

6. The apparatus of claim 1, wherein each LED light
string includes a substrate, wherein the substrate includes
circuitry and components configured to deliver power appro-
priate for the one or more LEDs

7. 'I'he apparatus of claim 6, wherein the substrate com-
prises a fiexible substrate,

8. The apparatus of claim 7, wherein the one or more
LEDs are affixed to a first external surface of the fiexible

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 10 of 15 Page |D #:38

US 9,851,054 B2
7 8

substrate and wherein adhesive tape is affixed to a second
external surface of the fiexible substrate.

9. The apparatus of claim 8, further comprising:

a transparent sleeve, heat shrturk to encapsulate the lamp

support and the one or more LED strings 5

10. 1he apparatus of claim 9, further comprising a sealant
applied at one or both ends of the transparent sleeve.

11. Tlre apparatus of claim 6, wherein the substrate
comprises a rigid substrate.

12. The apparatus of claim 6, further comprising: 10

an adhesive substrate to facilitate connection between the

one or more LED light strings and the elongated
extrusion.

13. The apparatus of claim 1, wherein each end of the
elongated extrusion is configured to fit securely within a 15
recess of a T-12 recessed double contact socket.

14. Tlre apparatus of claim 1, wherein one or more of the
LED light strings are afiixed to two or more of the four sides
of the elongated extrusiorr.

15. The apparatus of claim 1, wherein one or more of the 20
LED light strings are aHixed to three or more sides of the
elongated extrusion.

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 11 of 15 Page |D #:39

EXHIBIT 2

Case 2:18-c\/- -06449- RSW|_- KS Document 7 Filed 07/26/18 Pag e 12 of 15 Pag e |D #: 40

|||l|||||||||||||l||||||||l|1||111|1|11|1|11|11|1||||||||||||||||||||||||||

(12) United States Patent

(10) Patent No.: US 10,024,501 Bl

 

Vincent (45) Date of Patent: *Jul. 17, 2018
(54) UNIVERSAL LAMP SUPPORT (58) Field of Classification Search
CPC F21K 9/17', F21K 9/23; F21K 9/235', F21K
(71) Applicant: Principal LED, LLC, San Angelo, TX 9/237; F21K 9/238; F21K 9/27; F21K
(US) 9/272; F21K 9/275; F21K 9/278; F21K
9/90
(72) Inventor: John Bryan Vincent, San Angelo, TX USPC .......... 362/217.01-217.17, 218-225, 249.02
(US) See application file for complete search history.
(73) Assignee: Principal Lighting Group, LLC, San (56) References Cited
Angelo, TX (US) ,
U.S. PAfENT DOCUMENTS
( * ) Notice: Subject to any disclaimeri the term ofthis 7’441’922 Bz * 10/2008 Huang ...................... F21K 9/65
patent rs extended or adjusted under 35 362/225
U-S-C- 154(b) by 0 dayS- 7,926,977 132 * 4/2011 Nan ........................ Go9F 13/04
This patent is subject to a terminal dis- 8 419 223 BZ* 4/2013 Withers 1 _ _ 3§§/12§1§/3(2)
claimer. ` ` """""""" 362/254
2004/0062041 Ar * 4/2004 cross ................. HosB 33/0803
(21) Appl. NO.Z 15/351,301 352/240
(22) Filed; Dec. 21, 2017 (C°mmued)
Pri)))ary Exami)zer _ Jason Moon Han
Related U.S. Application Data (74) Attomey, Agem, or Firm _ Jackson Walker L.L.P.
(63) Continuation of application No. 14/582,944, filed on
Dec. 24, 2014, now Pat. No. 9,851,054. (57) ABSTRACT
An illumination apparatus includes a monolithic support
(60) PrOViSiODal aPlJliC-'<ltiol1 NO- 61/920,791, filed Oll DC`C- substrate and light emitting diodes (LEDs) orr one or more
26, 2013- external sides of the support substrate. 'l'he support substrate
nray comprise an elongated extrusion enclosing a hollow
(51) Int' Cl' core. The LEDs nray be affixed to rigid or flexible electrical
F 215 4/00 (2016-01) substrates. Each electrical substrate may be affixed to an
F21V21/00 (2006-01) external side of the extrusion and may include embedded
F21K 9/2 7 (2016'01) LED circuitry. The hollow core may enable the extrusion to
F21K 9/90 (2016~01) be received in a recessed socket of a light fixture, wherein
FZI Y 103/10 (2016-01) the recessed socket provides structural support for the appli-
F-71 Y 115/10 (2016-01) cable end of the extrusion, rendering end caps or end socket
F-Zl V 19/00 (2006-01) adapters unnecessary The light fixture nray include a contact
(52) U-S- Cl- protruding from the recessed socket and the electrical sub-
CPC ------------------ F21K 9/2 7 (2015-03); F21K 9/90 strates may include circuitry configured to couple the LEDs

   

(2013.01); F21V19/008 (2013.01); F21Y
2103/10 (2016_03); F21Y 2115/10 (2016.08);
Y10T 29/49169 (2015.01)

 

to a source of power not coupled to the protruding contact.

20 Claims, 3 Drawing Sheets

 

 

 

___________
r1 r1
-/l 121

 

 

 

C/"YL/

 

 

 

 

\\

 

2b

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 13 of 15 Page |D #:41

US 10,024,501 Bl

 

Page 2
(56) References Cited
U.S. PATENT DOCUMENTS

2009/0027916 Al* l/2009 Huang ...................... F21K9/27
362/581
2009/0073693 Al* 3/2009 Nall ........................ G09F 13/04
362/249.02
2010/00l9689 Al"‘ 1/2010 Sharr ......................... G09F 9/33
315/294
2010/0201239 Al* 8/201() Mostoller ............... F2lSS/031
313/l
2010/0270925 Al* 10/2010 Withers .................... FZlS 2/00
315/51
2012/0212953 Al* 8/2012 Bloom ................. H05B 33/089
362/223
2015/0308631 Al* 10/2015 Gorrnan F21V15/013
362/221

* cited by examiner

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 14 of 15 Page |D #:42

U.S. Patent Ju1.17,201s sheet 1 ors Us 10,024,501 Br

2a

 

\/\ l /15 1 y

 

 

 

 

 

\
ri] .
ll""@ =~=1@ 1= h

FIGUR.E 2 § / FIGURE 3 : 1
7 5 8

7

 

 

 

2a '1_§ 2b

5

wma-mn\
_JI/llll@
/(

/'k...¢=.

 

 

 

 

 

\U

75

71 1111 id

15 6 3

 

 

 

Case 2:18-cV-06449-RSWL-KS Document 7 Filed 07/26/18 Page 15 of 15 Page |D #:43

U.S. Patent Jul. 17, 2018 sheer 2 013 US 10,024,501 Bl

HGURE 5

PRIOR ART
10 9

 

11 10

 
       
     
 

 

 

 

___ F_\
llllll/"
/’1/ l

8

15

 

 

 

-' ap mar rea rca ct ira crow

 

 

 

 

